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 5
 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )       CR-F-11-CR 0092 OWW
                                            )
11          Plaintiff,                      )       ORDER TO RESET TRIAL
                                            )       DATE
12                                          )
            v.                              )
13                                          )
                                            )       New Trial Date: February 22, 2012
14                                          )       Time: 9:00 a.m.
     ADRIAN ROSALES-FUENTES                 )       Dept. 2
15   And JOSE ROSAS-FIGUEROA,               )
                                            )
16          Defendants.                     )
                                            )
17
            Based on the stipulation of counsel, it is hereby ordered as follows:
18
            That the trial date previously set of January 4, 2012, is vacated and a new
19
     trial date of February 22, 2012 is hereby set, with a trial confirmation date of
20
     Tuesday, January 17, 2012 at 9:00 a.m. (the day after Martin Luther King day);
21
     motions in limine are to be filed by January 17, 2012, with a response due
22
     February 17, 2012, and hearing on the motions set for February 22, 2012 at 9:00
23
     a.m.
24
            That time is waived under the Speedy Trial Act, 18 U.S.C. § 1361.
25
26   IT IS SO ORDERED.
27
28                                              1
       Case 1:11-cr-00092-LJO Document 32 Filed 08/26/11 Page 2 of 2


 1   Dated: August 26, 2011                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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